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 5
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 6 United States of America

 7

 8                             IN THE UNITED STATES DISTRICT COURT

 9                                EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA,                              CASE NO. 1:19-cr-072 NONE-SKO
12                                Plaintiff,
                                                            STIPULATION REGARDING
13                 v.                                       CONTINUANCE; FINDINGS AND
                                                            ORDER
14   JOSE MONGE-PONCE,
      aka Ramon Maciel-Ponce,
15    aka Jose Ponce,
16                                Defendant.
17                                             STIPULATION
18          Plaintiff United States of America, by and through its counsel of record, and defendant, by
19
     and through their counsel of record, hereby stipulate as follows:
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            1.      By previous order, this matter was previously set for a status conference on March 30,
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     2020, at 1:00 p.m.
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            2.      By this stipulation and out of an abundance of caution, the parties agree to reset the
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24 status conference for May 18, 2020, at 1:00 p.m., in light of the COVID-19 pandemic.

25          3.      Time has been excluded to and through the trial date of June 16, 2020.
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     IT IS SO STIPULATED.
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 2 DATED:         March 16, 2020.   Respectfully submitted,
 3                                  McGREGOR W. SCOTT
                                    United States Attorney
 4

 5                                  /s/ Karen A. Escobar___________________
                                    KAREN A. ESCOBAR
 6                                  Assistant United States Attorney
 7

 8 DATED:         March 16, 2020.
 9                                  /s/ E. Marshall Hodgkins
                                    E. MARSHALL HODGKINS
10                                  Counsel for Defendant Monge-Ponce
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12
                                           ORDER
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14
     IT IS SO ORDERED.
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16 Dated:     March 16, 2020                             /s/   Sheila K. Oberto   .
17                                             UNITED STATES MAGISTRATE JUDGE

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